EXHIBIT D
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                                                   August 4, 2021

   Ms. Brittany Primavera
   Gordon Rees Scully Mansukhani
   1 Battery Park Plaza, 28th Floor
   New York, NY 10004

    RE:         Expert Report of Gerald M. LaPorte, B. Sc., B. Comm., M.S.F.S.
                Riley Welch LaPorte & Associates Forensic Laboratories
                Our Case No.: 21-032
                United States District Court Southern District of New York

                JENNIFER S. FISCHMAN v MITSUBISHI CHEMICAL HOLDINGS
                AMERICA, INC.; MITSUBISHI CHEMICAL HOLDINGS CORPORATION;
                NICOLAS OLIVA, in his individual and professional capacities; DONNA
                COSTA, in her individual and professional capacities; and JOHN DOES 1-10, in
                their individual and professional capacities

                Civil Action No. 18-cv-08188 (JMF)

     I.         BACKGROUND

             1.       I submit this report on behalf of Defendants. I have been retained by Gordon

   Rees Scully Mansukhani to conduct a forensic examination and expert analysis of certain

   documents further described in Section III of this report.

             2.       On July 29, 2021, I performed an inspection of certain production documents at

   the law office of Valli Kane & Vagnini LLP located at 600 Old Country Road (Suite 519)

   in Garden City, New York. Also present from my firm was Ms. Jennifer Naso, a Board-

   Certified Forensic Document Examiner, who received her training with the United States

   Secret Service. Ms. Naso transported testing equipment from her office in the New York

   City area that will be further described; captured high resolution photographs; and performed


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       examinations for indented or impressed writing using an Electrostatic Detection Apparatus

       (ESDA) under my supervision, which will be described in Section VI(B). I performed all

       the remaining testing, including the chemical analysis of the inks, and reviewed the results

       from the indented writing examinations performed by Ms. Naso.

                 3.          In this report, I provide my qualifications; a description of the documents I

       examined; the bases for the methods used for the testing; the results from my examinations

       and testing; and my opinions. I am being compensated in this matter at a rate of $500 per

       hour and my compensation is not contingent on my findings, testimony rendered, or the

       outcome of this litigation.

       II.             QUALIFICATIONS

                 4.          I am a Forensic Chemist and Document Dating Specialist with Riley Welch

       LaPorte & Associates Forensic Laboratories. I have 28 years of experience in the field of

       forensic science and 20 years of experience performing physical and chemical examinations

       on a variety of documents to determine how they were produced, where they may have

       originated from, when they were created, and whether they are authentic.

                 5.          I am also employed with Florida International University where I am the Director

       of Research Innovation at the Global Forensic and Justice Center. As of July 2019, I retired

       as the Director in the Office of Investigative and Forensic Sciences at the National Institute

       of Justice, which is within the United States Department of Justice.

                 6.          Prior to my position with the United States Department of Justice, I served as the

       Chief Research Forensic Chemist in the Forensic Services Division at the United States

       Secret Service. I trained with the United States Secret Service in the field of forensic




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       document examination, specializing in the area of ink and paper analysis, as well as

       authenticating documents.

                 7.          I was designated by the United States Secret Service as a “National Expert” in

       the forensic examination of documents created by printers and copiers. In order to achieve

       this status, I was required to have published articles in the topic area in peer reviewed

       publications, qualified as an expert witness in the subject area in criminal court, and

       recognized by my peers as an expert in the area of printers and copiers by teaching

       workshops and working cases that were referred by other State, Federal, and International

       forensic laboratories.

                 8.          For three years, I served as the co-chair of the Standards Practices and Protocols

       Interagency Working Group (SPPIWG), under the Office of Science and Technology Policy

       within the Executive Office of the President of the United States.

                 9.          I was selected by the Attorney General of the United States to serve as a

       Commissioner on the National Commission on Forensic Science from 2014 through 2017.

       This Commission was composed of esteemed scientists, law enforcement officials,

       prosecutors, defense attorneys, and judges, with the underlying objective to enhance the

       practice of forensic science.

                 10.         I currently serve as the Chairperson on the Forensic Document Examination

       Subcommittee on the Organization of Scientific Area Committees (OSAC) for Forensic

       Science, which works to strengthen the nation’s use of forensic science by facilitating the

       development of technically sound forensic science standards and by promoting the adoption

       of those standards by the forensic science community.




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                 11.         I am the co-editor of the Journal for the American Society of Questioned

       Document Examiners.

                 12.         I am a member of the American Academy of Forensic Sciences (AAFS) and the

       American Society of Questioned Document Examiners (ASQDE). I was also a contributing

       member in the Scientific Working Group for Questioned Documents (SWGDOC) and

       served as a Technical Contact when standards were developed for the questioned document

       community.

                 13.         I participated in the European Document Experts Working Group (EDEWG) and

       have been a contributing member of the International Collaboration for Ink Dating (INCID),

       an international group dedicated to collaborating on methods for ink dating.

                 14.         I have organized and personally conducted more than 100 lectures, seminars, and

       training events in over 15 different countries for law enforcement agencies, professional

       organizations, and technical experts.

                 15.         I have published several scientific papers in the area of forensic document

       examination and authored three textbook chapters in the Forensic Chemistry Handbook

       (Chemical Analysis Techniques Used in Forensic Document Examinations), The Wiley

       Encyclopedia of Forensic Sciences (Documents, Forgeries and Counterfeits), and

       Forensic Chemistry Fundamentals and Applications (Chemical Analysis for the

       Scientific Examination of Questioned Documents).

                 16.         I have testified over 100 times in County, State, Federal, and International courts.

       I have never been excluded from testifying as an expert witness, nor have my opinions been

       criticized by a fact finder in any County, State, Federal, or International court, arbitration or

       administrative proceeding.



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                 17.         A full and complete copy of my curriculum vitae is included in Attachment 1.

       III.            DOCUMENTS RECEIVED FOR EXAMINATION

                 18.         On July 29, 2021, I received the following documents from a representative at

       the law office of Valli Kane & Vagnini LLP in Garden City, New York:

       Q1        One (1) piece of lined paper containing written entries in a column format with the
                 names at the top of each column reading “Jen” “Kathryn” “Andy +3” and “Nick”.
                 Based on a PDF copy I received prior to the inspection and examination, this document
                 was Bates-stamped FISCHMAN 000788. A true and accurate copy of Q1 (000788) is
                 included as Attachment 2.
       Q2        A black covered spiral bound notebook titled “CAMBRIDGE® Limited” on the cover
                 bearing numerous pages with handwritten entries. Based on a PDF copy I received
                 prior to the inspection and examination, this document was Bates-stamped
                 FISCHMAN 000789 through 000824.
       Q3        A copy of what appears to be an envelope addressed to “Ms. Jennifer Stome Fishman”.
                 Based on a PDF copy I received prior to the inspection and examination, this document
                 was Bates-stamped FISCHMAN 000825.
       Q4        A copy of a letter beginning “Merry Christmas and Best Wishes for happy new year”.
                 Based on a PDF copy I received prior to the inspection and examination, this document
                 was Bates-stamped FISCHMAN 000826.
       Q5        One (1) piece of lined paper bearing handwritten entries beginning, “MLA Morgan
                 Applied Sole U.S. Counsel”. Based on a PDF copy I received prior to the inspection
                 and examination, this document was Bates-stamped FISCHMAN 000827. A true and
                 accurate copy of Q5 (000827) is included as Attachment 3.
       Q6        One (1) piece of lined paper bearing handwritten entries beginning with notes in the
                 top left reading “N.Y. Labor; CBRE”. Based on a PDF copy I received prior to the
                 inspection and examination, this document was Bates-stamped FISCHMAN 000828.
                 A true and accurate copy of Q6 (000828) is included as Attachment 4.
       Q7        A one-page email dated 12/05/16 beginning, “Dear Jennifer, I have worked with a lot
                 of attorneys ...”.       Based on a PDF copy I received prior to the inspection and
                 examination, this document was Bates-stamped FISCHMAN 000829.

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       Q8        One (1) piece of paper bearing handwritten entries on both sides, dated 3/1/16. Based
                 on a PDF copy I received prior to the inspection and examination, this document was
                 Bates-stamped FISCHMAN 000830 and 000831. A true and accurate copy of Q8
                 (000830/000831) is included as Attachment 5.
       Q9        A copy of what appears to be an envelope addressed to “Jennifer Fishman Esq.” and a
                 letter beginning, “Dear Jennifer, Thank you for taking care ...”. Based on a PDF copy
                 I received prior to the inspection and examination, this document was Bates-stamped
                 FISCHMAN 000832.
       Q10 A one-page email dated 08/03/2015 beginning, “He was registered for both days ...”.
                 Based on a PDF copy I received prior to the inspection and examination, this document
                 was Bates-stamped FISCHMAN 000833.
       Q11 A piece of note paper beginning, “Oerlikon Westbury, N.Y.” and piece of note paper
                 beginning, “2016 2.3B Swiss Franks”. Based on a PDF copy I received prior to the
                 inspection and examination, these documents were Bates-stamped FISCHMAN
                 000834.
       Q12 A one-page machine printed document beginning, “To be delivered by N. Oliva in
                 person, ...” also containing a handwritten note along the right edge beginning
                 “NEVER” and a handwritten note at the bottom reading, “JSF Nick authorized in office
                 mtg ...”. Based on a PDF copy I received prior to the inspection and examination, this
                 document was Bates-stamped FISCHMAN 000835. A true and accurate copy of Q12
                 (000788) is included as Attachment 6.


       IV.             REQUEST

                 19.         I was requested to conduct forensic examinations and testing of Q1 (000788), Q5

       (000827), Q6 (000828), Q8 (000830 and 000831), Q11 (000834), and Q12 (000835) to

       determine whether the written entries were executed on or around their purported dates or

       on a date more recently.




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       V.              SUMMARY OF OPINIONS

                 20.         Based on my forensic testing, including physical, microscopic, optical, and

       chemical analysis, the following is a summary of my final opinions:

                 (a)         It is highly probable 1 that the handwritten entries on both sides of Q8

                 (000830/000831) were not executed on the purported date of March 1, 2016. Instead,

                 the written entries were executed within two (2) years before I performed my testing,

                 which would have been sometime after July 31, 2019. I performed a chemical analysis

                 to measure the amount of a volatile organic compound (VOC), referred to as 2-

                 phenoxyethanol (2-PE). The level of 2-PE stabilizes over a period of approximately

                 six to eighteen months as an ink goes through a complex drying process and is not

                 significant much beyond two years after the ink has been applied to paper. However,

                 the levels of 2-PE were extremely high, along with other test results, which are

                 consistent with an ink is still in a very ‘fresh’ stage (e.g., less than 6 months old).

                 (b)         Q8 (000830/000831) was altered by adding the date “3/1/16” to the document

                 using a different ink than what was used for the handwritten notes appearing on both

                 sides of the document.

                 (c)         There are two (2) handwritten entries that have been added to Q12 (000835) on

                 the right side of and beneath the text printed paragraph using the same formulation of

                 ink that was used for the handwritten notes on Q8 (000830/000831). It is probable2


       1
         The forensic document community relies on the Scientific Working Group for Forensic Document
       Examiners: Standard Terminology for Expressing Conclusions of Forensic Document Examiners. “Highly
       Probable” is used to describe evidence that is very persuasive, and the examiner is virtually certain, but there
       is some factor that precludes the examiner from reaching absolute certainty. The “highly probable” threshold
       is one of virtual certainty based on the results from the examination and testing.
       2
         The forensic document community relies on the Scientific Working Group for Forensic Document
       Examiners: Standard Terminology for Expressing Conclusions of Forensic Document Examiners. “Probable”
       is used to describe strong evidence that is persuasive. The “probable” conclusion is one of very high
       confidence based on the results from the examination and testing.

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                 that the handwritten notes were not created until after July 31, 2019, which would be

                 sometime in the two (2) years prior to my analysis. The results from the chemical

                 testing are not consistent with an ink that is allegedly 4 ½ years old and are far more

                 supportive of an ink that is less than two (2) years old.

                 (d)         With respect to Q6 (000828), nearly all of the handwritten entries were executed

                 with blue non-ballpoint writing ink (e.g., gel ink, felt tip pens, and roller-ball pens);

                 however, there are no generally accepted methods to estimate the age since non-

                 ballpoint inks are primarily water-based and do not contain solvents that persist over

                 months or years like ballpoint inks; and

                 (e)         While I did examine the remaining documents, I did not perform ink dating

                 analysis, and therefore, I cannot conclude whether or not the written entries on Q1

                 (000788), Q5 (000827), and Q11 (0000834) were executed sometime within the past

                 two (2) years.

       VI.             REASONS AND BASES FOR EXAMINATIONS

                  21. I performed a series of physical, optical, and chemical examinations using widely

       accepted procedures. As part of my testing, I also rely, in part, on published standards

       distributed by the Scientific Working Group for Forensic Document Examiners

       (SWGDOC). 3 The following is a list of six (6) standards applicable to the testing I

       conducted:

                       A. SWGDOC Standard for Scope of Work of Forensic Document Examiners

                       B. SWGDOC Standard for Examination of Altered Documents



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        The SWGDOC standards can be found at the following web link:
       http://www.swgdoc.org/index.php/standards/published-standards


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                       C. SWGDOC Standard for Test Methods for Forensic Writing Ink Comparison

                       D. SWGDOC Standard for Indentation Examinations

                       E. SWGDOC Standard for Non-destructive Examination of Paper

                       F. SWGDOC Standard Terminology for Expressing Conclusions of Forensic

                             Document Examiners

                  22. A description and the scientific basis of the procedures I used are described in

       the following paragraphs of Section V.

       A.        Physical Examinations: Visual and Microscopic

                 23.         Physical examinations include non-destructive methods for inspecting the

       documents visually with an appropriate magnification device and/or light source. This

       portion of the examination is necessary to determine how a questioned document was

       produced and whether the written entries are original (i.e., created with a writing instrument)

       or reproductions (e.g., photocopied or scanned and printed).

                 24.         The text, format, and/or images on documents can be printed using various

       methods. These methods of production are referred to as printing processes and are

       identifiable using a magnifying device with an appropriate light source. The most common

       types of home and office machines utilize toner (e.g., photocopiers, laser printers, and some

       facsimile machines) or inkjet technology (e.g., inkjet printers and some types of

       multifunction machines capable of scanning, copying, faxing, and printing). Typically,

       inkjet ink absorbs into the paper and appears planar, or flat, when visualized with a

       microscope. Toner consists of a particulate material and sits on top of the paper, which

       appears to have a three-dimensional effect when observed with magnification




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                 25.         Writing inks can be classified into ballpoint, non-ballpoint (e.g., roller ball, felt

       tip, gel), and fountain pen inks based on their unique microscopic characteristics that result

       from the combination of their differential chemical composition and interactions with paper.

       Determining the type and color of a writing ink is commonly reported following a physical

       examination and is further described in the Standard for Test Methods for Forensic Writing

       Ink Comparison, which is published and endorsed by SWGDOC.

       B.        Physical Examinations: Indented Writing and Impression Evidence

                 26.         Documents can be examined for the presence of indented writing or other

       identifying impressions (e.g., markings from printing devices), which can appear on paper

       from writings or other markings made to another page while it was superimposed over the

       questioned material. In this case, an Electrostatic Detection Apparatus™ (ESDA) was used

       to recover potential impressions that could indicate what was written on top of the questioned

       document(s).

                 27.         Whenever two or more sheets of paper are stacked or placed on top of one

       another, traces of the writing executed on the top page tend to become impressed into the

       sheet or sheets below. These impressions can be vital in associating whether two documents

       purportedly prepared at significantly different times were created on their purported dates.

                 28.         The following illustration in Figure 1 shows the sequence of how writing can be

       transferred and then impressed into the underlying sheet or sheets of paper.




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       Figure 1: An illustration showing how written impressions can be transferred to an
       underlying questioned document, which can then be examined to show what was
       previously written atop of the questioned document.




                                    Page 1
                                                                             Writing on page 1written while on top
                                                                             of and impressed into page 2 and 3.

                                    Page 2
                                                                             Writing on page 2 written while on top
                                                                             of and impressed into page 3.


                                     Page 3                                  Examination of page 3 reveals
                                                                             impressions from pages 1 and 2.



                 29.         Impressions can sometimes be seen with the naked eye, whether unaided or with

       the use of a microscope. Often, however, special techniques must be used. One technique

       involves utilizing grazing light, where the document is viewed while moving a strong light

       source, such as a fiber optic light, at various angles and directions. The results can then be

       captured utilizing digital photography.

                 30.         The most common technique used to recover impression evidence, however, is

       by utilizing electrostatic processing of a document with an electrostatic detection device

       (EDD). The most common EDD used, which is the one utilized by our firm, is the

       Electrostatic Detection Apparatus™ (ESDA and is manufactured by Foster & Freeman (see

       below images provided by Foster & Freeman).

                 31.         As described in the SWGDOC Standard for Indentation Examinations, in

       electrostatic processing, the document being examined is placed on a vacuum bed and

       covered with a thin clear plastic film. An electrical charge is then placed on the surface of

       the document by passing a wand containing a high voltage charge over the surface of the


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       film. Next, tiny glass beads coated with black toner are cascaded over the surface of the

       clear plastic film. Due to the presence of the electrical charge, the toner fills in the impressed

       areas on the document. Finally, the developed toner image is fixed by encapsulating the toner

       with a lamination film containing an adhesive. The film adheres and fixes the toner, and

       then is placed onto a white backing. This is called an ESDA “lift.” In an ESDA lift,

       impressions appear as dark lines and visible writing generally appears as white lines.

       C.        Optical Examinations

                 32.         Optical examinations, also referred to as filtered light examinations, are non-

       destructive and can provide valuable insight regarding the overall composition of ink and

       paper. Ink and paper are made from components that respond differently to different

       wavelengths of light, sometimes in regions of the electromagnetic spectrum beyond what

       the human eye is capable of seeing. The presence of colorants and other materials will

       directly affect the manner in which inks and paper absorb, reflect, and transmit light.

       Ultraviolet (UV), infrared reflectance (IRR) and infrared luminescence (IRL) illumination

       are energy sources that can be used to evaluate the properties of an ink. Forensic document

       examiners commonly use a Video Spectral Comparator (VSC) for this type of examination.

       I used a VSC 80, which is equipped with cameras, lights, and filters that allow me to conduct

       detailed examinations, while controlling both the wavelength of light being used to assess

       UV, IRR, and IRL characteristics of the writing inks. Figure 2 below shows an example of

       two different black writing inks that appear to be the same under normal lighting conditions

       but are determined to be different once visualized in the infrared region.




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       Figure 2: The top image is a check viewed with standard visible light and the bottom
       image is the check viewed using infrared luminescence (IRL). Viewing the check in the
       infrared region shows that the check was altered using a different black ink. The bright
       white writing is from the ‘fluorescent’ properties of one black ink that are not present
       in the other black ink.
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        D.         Chemical Examinations

                   33. The various ingredients of an ink can be analyzed using specialized laboratory

         equipment and I use two widely accepted techniques to analyze the chemical components.

         The first is thin-layer chromatography (TLC), and the second is gas chromatography/mass

         spectrometry (GC/MS). In order to conduct both TLC and GC/MS, I remove paper and ink

         plugs (circular discs ranging from 0.5 to 1.0 millimeter in diameter) from representative

         areas of the written entries with a specialized hypodermic-like device.

                   34. Inks are typically composed of dyes and pigments (colorants), solvents, and other

         trace materials. TLC is a widely used and scientifically accepted method to separate and

         compare the various colorants present in the inks. In order to perform TLC on ink, the ink

         is extracted with a solvent from the sample plugs removed from the written entries. The ink


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            extract is then applied, as a tiny liquid spot, onto a glass plate coated with a white chalk-like

            silica layer. The TLC plate is then developed with a mixture of solvents. As the TLC plate

            develops, the solvent mixture then diffuses up the plate by capillary action and carries the

            ink spot upwards. Each colorant component of the ink will move at different rates along the

            TLC plate due to their physical and chemical differences and stop migrating at different

            points. Once the TLC plate is fully developed, the multiple colorant components will appear

            as a pattern of spots and bands. The separated components can then be compared with the

            separated components of other ink samples.                  In the event that inks contain colorant

            components that separate and migrate identically, the ink formulations are then said to match

            each other per the Standard for Test Methods for Forensic Writing Ink Comparison. Figure

            3 is an example of the colorant (dyes) patterns from five (5) different ink samples. Based

            on the results from this demonstrative analysis, there are three (3) different patterns, and

            therefore, three (3) different ink formulations.

            Figure 3: Example of a TLC plate with five (5) ink samples determined to be three (3)
            different ink formulations (Ink A, Ink B, and Ink C)
                                        Ink A    Ink B    Ink B   Ink C Ink C




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                                      Sample    Sample   Sample   Sample Sample
                                        1         2        3        4      5




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                 35.         With respect to the chemical analysis of inks, GC/MS is used to detect and

       identify the non-colorant components of an ink, such as solvents and other volatile organic

       compounds (VOCs), which aid in the application of the ink to paper. VOCs are age-

       dependent and it is well established that solvent evaporation is the first process to occur once

       an ink is placed on a document.

                 36.           More specifically, the rate of evaporation of 2-phenoxyethol (2-PE), a solvent

       found in over 85% of blue and black ballpoint writing inks, stabilizes over a period of

       approximately six to eighteen months and is not significant much beyond two years after the

       ink has been applied to paper. That is, 2-PE evaporates very quickly when an ink is first

       placed on paper and then eventually slows and may continue to evaporate up to 24 months

       after the ink has been placed on the document. After 24 months, PE no longer evaporates at

       a significant or measurable rate. Figure 4 is an illustration to show how the theoretical rate

       at which 2-PE dissipates from an ink once the ink is placed on paper.




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           Figure 4: A theoretical illustration to show the rate at which 2-PE dissipates from ink
           once it has been placed on paper. Solvent evaporation is rapid in a fresh ink, becomes
           slower in a medium-aged ink, and then ceases to an immeasurable rate after two (2)
           years.



                                       Fresh Ink: Ink is not fully hardened and 2-PE evaporates rapidly




                         Ink Line --ow
                                                t
                                          gaitS214====21
                                                                   Paper

                                     Medium-Age: Ink begins polymerizing and 2-PE evaporates slowly


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                          Ink Line            Sol\ en I evaporation of 2-phenoxyethanol slows • own
                                                                                                      t
                                                                   Paper

                                Ink older than 2 years: ink is fully encapsulated and 2-PE no longer evaporates

                         Ink Line —01.-          Solvent evaporation of 2-phenoxyethanol ceases

                                                                   Paper


                 37.    For ink dating, GC/MS is used to measure differences in the concentration of 2-

           PE when samples of the questioned ink are heated and unheated. In this method, samples of

           the questioned ink are removed from the document, and then one set of samples is heated,

           and the other set is not. A greater concentration of 2-PE will evaporate from fresh ink

           compared to older ink when the samples are heated at a temperature of 70 degrees Celsius

           (70°C) for 90 minutes. The resulting difference in the amount of 2-PE in the unheated

           samples compared to the amount of 2-PE in the heated samples is often referred to as the

           ‘solvent loss ratio’ (SLR). Based on extensive research by forensic laboratories throughout

           the world including the United States, Russia, Germany, Canada, and Sweden, comparisons


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       with known aged samples, and validation studies, a solvent loss ratio of 25% or more is

       extremely strong evidence to conclude that the ink is less than two (2) years old.4 There are

       factors that may affect the concentration of 2-PE prior to testing such as storage in extreme

       cold, which slows the ink drying process, or extreme heat, which hastens the ink drying

       process, but none of these factors would be expected to cause an increase in the level of 2-

       PE.

                 38.         Finally, it is important to understand that some inks are known to be ‘fast aging’

       where they dry at an extremely fast rate within the first several weeks from the time the ink

       is placed on paper. Therefore, if the level of 2-PE is less than 25% then the result does not

       imply that the writing was definitively applied more than 2 years ago. At this time, there is

       no generally accepted method to conclusively identify an ink as being fast aging.

       VII.            OBSERVATIONS AND RESULTS FROM TESTING

                 39.         I performed a series of physical, optical, and chemical tests5 on the writing inks

       used on Q1 (000788), Q5 (000827), Q6 (000828), Q8 (000830 and 000831), Q11 (000834),

       and Q12 (000835). At least five (5) different inks were used to create the written entries on

       the aforementioned documents. The results from my testing are summarized in Table 1 and

       will be referenced throughout my report.




       4
         The 25% threshold level is the equivalent to a ‘highly probable’ conclusion as defined in the Scientific
       Working Group for Forensic Document Examiners: Standard Terminology for Expressing Conclusions of
       Forensic Document Examiners. “Highly Probable” is used to describe evidence that is very persuasive, and
       the examiner is virtually certain, but there is some factor that precludes the examiner from reaching absolute
       certainty.
       5
         The chemical testing includes thin layer chromatography (TLC) analysis.

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       Table 1

              Document              Bates Stamp        Description of          Color      Type of       Writing Ink
               (Date)                Number               Entry                of Ink       Ink         Formulation
         Q1 (No date)               Fischman 000788   All entries except       Blue     Ballpoint       Ink 1 (Blue)
                                                      “corp (plus Aldila
                                                      Inc.)” and “MCC
                                                      Genomatica
                                                      Litigation”
         Q1 (No date)               Fischman 000788   “corp (plus Aldila       Black    Ballpoint       Ink 2 (Black)
                                                      Inc.)” and “MCC
                                                      Genomatica
                                                      Litigation”
         Q5 (No date)               Fischman 000827   All entries up to        Blue     Ballpoint       Ink 1 (Blue)
                                                      “Base 200-250 20-
                                                      40%”
         Q5 (No date)               Fischman 000827   All entries following    Black    Ballpoint       Ink 3 (Black)
                                                      “Base 200-250 20-
                                                      40%”
         Q6 (No date)               Fischman 000828   All entries except       Blue     Non-ballpoint   Ink 4 (Blue)
                                                      “888” number in top
                                                      left
         Q8 (3/1/16)                Fischman 000830   All entries except the   Black    Ballpoint       Ink 3 (Black)
                                    and 000831        date
         Q8 (3/1/16)                Fischman 000830   “3/1/16”                 Black    Non-ballpoint   Ink 5 (Black)
                                    and 000831
         Q12 (1/30/17)              Fischman 000835   All handwritten          Black    Ballpoint       Ink 3 (Black)
                                                      entries



                 40.         Based on a microscopic and optical examination using the Video Spectral

       Comparator (VSC), I determined that Q8 (000830/000831) was altered by adding the date

       3/1/16 with a different ink than what was used for the other handwritten entries. The

       “3/1/16” was created with a black non-ballpoint ink (Ink 5), while the remaining written

       entries were executed with a black ballpoint ink (Ink 3). As shown in Figure 5, when I

       visualized Q8 using the VSC in the infrared mode, the ink used for the “3/1/16” entry

       exhibits different properties than the other handwritten entries.




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       Figure 5




                  41.       I proceeded to focus my analysis on Q8 (000830/000831) and Q12 (000835)

       since the same formulation of writing ink was used for these documents, which are purported

       to have been executed approximately 10 months apart, and Q8 was altered with the addition

       of a date. Therefore, I performed an ink dating analysis on the Black Ink 3 which was used

       for the handwritten entries on both sides of Q8 (000830 and 000831), dated March 1, 2016.

       I observed significantly high levels of 2-phenoxyethanol (2-PE) that would not be expected

       in an ink entry that is over five (5) years old. I compared the amount of 2-PE in a set of

       heated samples with the amount of 2-PE in a set of unheated samples as described in

       paragraph 37 to calculate the solvent loss ratio (SLR). The ink entries on the front of Q8

       (000830) revealed a SLR of 33% and the ink entries on the back of Q8 (000831) showed a

       SLR of 28%, for an average SLR of 31%. The SLR values obtained are very strong and

       persuasive evidence that the handwritten entries on Q8 (000830 and 000831) were not



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       executed on March 1, 2016. Instead, the written entries were executed within two (2) years

       before I performed my testing, which would have been sometime after July 31, 2019. Due

       to the extremely high levels of 2-PE and the average SLR of 31%, the entries are consistent

       with being prepared sometime within the past 6 months.

                 42.         As shown in Table 1, Black Ink 3 was also used for the two handwritten notes on

       Q12 (000835), dated January 30, 2017, which is shown in Figure 6. I performed duplicate

       testing as part of my ink dating analysis on the handwritten note below the printed text. Once

       again, I observed significantly high levels of 2-phenoxyethanol (2-PE) that would not be

       expected in an ink entry that is over 4 ½ years old. I obtained SLR values of 20% and 18%

       for an average of 19%. I have seen values in the ‘high teens’ in known aged samples that

       were less than two (2) years old many times over the course of performing ink dating analysis

       hundreds of times. Given the high levels of 2-PE in this case and the SLR level of 19%, the

       written entry is not consistent with being executed approximately 4 ½ years ago.




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       Figure 6
            I called you in to deliver the news that today is your last day    h
            us. As you know, you have a documented history of poor commu cation
            and a lack of judgment set forth in evaluations. I worked v -ry hard
            to provide you with guidance and feedback to assist you in ivercoming
            these deficiencies. Unfortunately, the recent situation w th
            Genomatica demonstrates your judgment continues to be sign ficantly
            impaired. Making an offer of settlement without the expre                  A°
            authorization to do so was patently unethical.   You worsen,c1 the
            situation by repeatedly failing to make me aware of the situ-tion and
            repeatedly withholding information from the client, MCC. It      n't
            until MCC made me aware of their concerns did you then admit you
            wrongdoing. Your actions in Genomatica are emblematic of the
            persistent problems experienced with you in the legal department.               The
            added layers of unethical and unprofessional conduct and a deliberate
            failure to disclose your actions, makes your continued employment with
            us impossible. Any documents provided to you or prepared during your
            employment are proprietary to the Company. I remind you of your
            ongoing legal and ethical obligations of confidentiality and attorney-
            client privilege.  We expect any documents and all other company
            property in your possession will be returned to us immediately.   Pat
            will escort you to your office to gather your personal belongings.
            Any personal belongings not removed today will be delivered to your
            home, at which time the delivery person will pick up all company
            property not returned to us today. You will be receiving COBRA
            paperwork in the mail. Any questions can be directed to HR.




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                  43.       As shown in Figure 7, nearly all of the handwritten entries on Q1 (000788) were

       executed with Blue Ink 1, except two (2) added entries reading “corp. (Plus Aldila Inc.)”,

       which follows the Aldila Golf entry in the first column and “MCC Genomatica litigation”

       which has been written at the bottom of the first column. Therefore, Q1 (000788) has been

       altered with the addition of these two (2) entries which were executed with Black Ink 2.




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        Figure 7
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                  44.        As described in Section VI(B), documents can be examined for the presence of

        indented writing or other identifying impressions (e.g., markings from printing devices),

        which can appear on paper from writings or other markings made to another page while it

        was superimposed over the questioned material. The two (2) added entries on Q1 (000788)

        were impressed into the front of Q12 (000835) indicating that when the two (2) entries were

        written on Q1, the document was over top of Q12. Although Q1 is not dated, the two (2)


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       entries would have been added sometime after January 30, 2017, which is the date of the

       Q12, and when it first came into existence.

                 45.         I also observed some impressed writing on the front of Q6 (000828), which is

       considered unsourced because it did not originate from the other Questioned documents that

       were examined in this case.

       VIII.                 CONCLUSION

                 46.         Based on my professional experience, established scientific principles, and full

       consideration of the testing results, it is my opinion that:

              (a) It is highly probable that the handwritten entries on both sides of Q8

                       (000830/000831) were not executed on the purported date of March 1, 2016. Instead,

                       the written entries were executed within two (2) years before I performed my testing,

                       which would have been sometime after July 31, 2019. Due to the extremely high

                       levels of 2-PE and the average SLR of 31%, the results are consistent with the writing

                       being executed as early as sometime in the past six (6) months.

              (b) It is probable that the handwritten notes on Q12 (000835) were not created until after

                       July 31, 2019, which would be sometime in the two (2) years prior to my analysis.

                       The results from the chemical testing are not consistent with an ink that is allegedly

                       4 ½ years old and are far more supportive of an ink that is less than two (2) years old.

              (c) Q1 has been altered with the addition of two (2) entries reading, “corp. (Plus Aldila

                       Inc.)” and “MCC Genomatica litigation”.

              (d) The two (2) entries reading, “corp. (Plus Aldila Inc.)” and “MCC Genomatica

                       litigation” were executed when over top of Q8 (000835), which means that the two




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               (2) entries would have been written on or after Q12 came into existence on January

               30, 2017.

           (e) Q8 has been altered with the addition of the date “3/1/16”.

           (f) With respect to Q6 (000828), nearly all of the handwritten entries were executed with

               blue non-ballpoint writing ink (e.g., gel ink, felt tip pens, and roller-ball pens);

               however, there are no generally accepted methods to estimate the age since non-

               ballpoint inks are primarily water-based and do not contain solvents that persist over

               months or years like ballpoint inks; and

           (g) While I did examine the remaining documents, I did not perform ink dating analysis

               and therefore, I cannot conclude whether or not the written entries on Q1 (000788),

               Q5 (000827), and Q11 (0000834) were executed sometime within the past two (2)

               years.

             47.    The analyses and conclusions presented herein are based on the evidence

        available at this time. I reserve the right to rely upon additional discovery that occurs after

        this report is submitted. To the extent additional information becomes available relevant to

        the conclusions expressed in this report, I will update my conclusions as appropriate.

             48.    All of the conclusions expressed in the aforementioned paragraphs are based on

        widely accepted scientific principles and methodologies.




                           ______________________________________________
                               Gerald M. LaPorte, B.Sc., B. Comm., M.S.F.S.
                              Forensic Chemist and Document Dating Specialist




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ATTACHMENT 1
                             GERALD M. LAPORTE
                               Curriculum Vitae
Positions:     Forensic Chemist & Document Dating Specialist
               Riley Welch LaPorte & Associates Forensic Laboratories
               Lansing, Michigan USA

               Director of Research Innovation
               Florida International University – Global Forensic and Justice Center

               United States Department of Justice and United States Secret Service (RET)

Education:     University of Alabama at Birmingham (1994)
               Birmingham, Alabama USA
               Master of Science in Forensic Science (M.S.F.S.)

               University of Windsor (1992)
               Windsor, Ontario Canada
               Bachelor of Commerce in Business Administration

               University of Windsor (1990)
               Windsor, Ontario Canada
               Bachelor of Science in Biology (B.Sc.)

Professional
Experience: Florida International University (FIU), Global Forensic and Justice Center
             Director of Research Innovation (07/19 – Present)
             Duties: Oversee activities at the Global Forensic and Justice Center, which is an
             innovative resource for education, research, training and policy initiatives related
             to criminal justice, cyber and emerging forensic sciences.

               U.S. Department of Justice, National Institute of Justice (03/09 – 07/19)
               Director, Office of Investigative and Forensic Sciences
               Duties: Provide expert analysis and advice on agency-wide programs or issues of
               national impact relating to forensic science; provide expert advice to top
               management officials; identify reasons for the nature and/or extent of program-
               related problems that arise and investigate area in need of improvement; write
               comprehensive resolution recommendations; formally present findings before
               large and diverse audiences, such as Federal, state, and local government
               representatives, special interest groups, the scientific community, and the media.
               Testify in Congress on behalf of the Department of Justice.
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                United States Secret Service (04/01 – 03/09)
                Chief Research Forensic Chemist (11/07-03/09); Senior Document Analyst
                (06/05-11/07); Document Analyst (04/01-06/05)
                Duties: Serve as the technical liaison and research chemist for the United States
                Secret Service pertaining to issues related to the chemistry of documents and
                fingerprints; coordinating clandestine tagging programs; direct all research
                projects within the Forensic Services Division.
                Laboratory Duties: perform physical and chemical examinations on a variety of
                documents to determine how they were produced, where they may have
                originated from, and if they are authentic. These types of documents include
                anonymous letters (e.g., threatening, kidnapping, and extortion), suspected
                counterfeit identifications and financial documents (e.g. travelers checks, credit
                cards), contracts, and other miscellaneous written materials. Chemical
                examinations are conducted using thin layer chromatography (TLC), gas
                chromatography/mass spectrometry (GC/MS), liquid chromatography-mass
                spectrometry (LC/MS), infrared spectroscopy (IR), scanning electron
                microscopy/energy dispersive x-ray analysis (SEM/EDXA); perform chemical
                tests on unknown (e.g. miscellaneous powders) and controlled substances; testify
                in court as an expert witness.

                Marymount University (08/08 – 01/09)
                Adjunct Professor of Forensic Science
                Arlington, VA
                Duties: Prepare and conduct lecture material in various areas of the forensic
                sciences and prepare all laboratory exercises and examinations for graduate
                students
                United States Secret Service, Washington, DC (04/01 – 03/09)

                Virginia Division of Forensic Science, Richmond, VA (11/99 – 04/01)
                Forensic Scientist
                Duties: analyze evidence for the presence or absence of controlled substances
                using a variety of chemical and instrumental tests; utilize sophisticated
                instrumentation such as gas chromatography/mass spectrometry and Fourier
                transform infrared spectroscopy; testify in court as an expert witness

                Anne Arundel County Police Department Crime Lab, Millersville, MD
                (01/99 -11/99)
                Forensic Chemist
                Duties: similar to the duties specified for Virginia Division of Forensic Science

                Government Scientific Source (GSS), Vienna, VA (09/98-01/99)
                Technical Specialist
                Duties: serve as technical specialist in the sales of scientific and laboratory
                supplies and equipment.
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                Accu-Chem Laboratories, Richardson, TX (07/96 – 09/98)
                Forensic and Clinical Toxicology Specialist
                Duties: supervisor of toxicology department; sales and marketing of drug testing
                and occupational and environmental toxicology testing; serve as a liaison to
                physicians and personnel responsible for forensic urine drug testing; testify in
                court as an expert witness in the area of forensic urine drug testing

                Jefferson County Coroner/Medical Examiner Office, Birmingham, AL
                (09/93 - 07/96)
                Autopsy Assistant/Forensic Technician
                Duties: identify, collect, preserve, and document any potential evidentiary
                material; eviscerate all human organs and document any relevant findings;
                perform histological examinations

                University of Alabama at Birmingham, Birmingham, AL (01/94 – 07/96)
                Guest Forensic Science Lecturer
                Duties: lecture on areas related to forensic pathology and death investigation to
                undergraduate and graduate students

Honors/Professional Affiliations:

                         American Academy of Forensic Sciences (AAFS)
                         Mid-Atlantic Association of Forensic Scientists (MAAFS)
                         American Society of Questioned Document Examiners (ASQDE)
                         American Bar Association (ABA) – Criminal Justices Section
                         Guest Reviewer for the Journal of Forensic Sciences
                         Guest Reviewer for the Journal for the American Society of Questioned
                         Document Examiners
                         Contributing member and Technical Contact in the Scientific Working
                         Group for Questioned Document Examiners (SWGDOC)
                         Contributing member in the European Document Examiners Working
                         Group (EDEWG) and the International Collaboration for Ink Dating
                         (INCID)
                         Recipient of the “2005 Forensic Scientist of the Year” by the Mid-Atlantic
                         Association of Forensic Scientists
                         Recipient of the United States Attorney’s Office Eastern District of
                         Virginia “Law Enforcement Public Service Award”
                         Recipient of the FBI Director’s Award of Excellence for Outstanding
                         Scientific Advancement
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Professional and Scientific Committees:

            1. Co-Chair of the Standards, Practices, and Protocols Inter-Agency Working Group
               – Executive Office of the President of the United States/Office of Science and
               Technology Policy/National Science and Technology Council/Committee on
               Science/Subcommittee on Forensic Sciences
            2. Participating member in the Expert Working Group for Human Factors in Latent
               Print Analysis
            3. Participating member in the Expert Working Group for AFIS Interoperability
            4. Participating member in the Expert Working Group for the Preservation of
               Biological Evidence
            5. Commissioner on the National Commission on Forensic Science (NCFS)
            6. Chair of the Forensic Document Examination Subcommittee on the National
               Institute of Standards and Technology (NIST) Organization of Scientific Area
               Committees (OSAC)
            7. Co-Editor for the Journal for the American Society of Questioned Document
               Examiners

INSTRUCTIONAL COURSES CONDUCTED

    1. Workshop Instructor. “How Chemical Examinations of Inks and Paper Can
       Corroborate and Supplement Forensic Document Examinations.” Presented at the
       Southwestern Association of Forensic Document Examiners (SWAFDE) Annual
       Meeting, Denver, CO. October 11, 2019.
    2. Workshop Instructor. “How Chemical Examinations of Inks and Paper Can
       Corroborate and Supplement Forensic Document Examinations.” Presented at the Mid-
       Atlantic Association of Forensic Scientists Annual Meeting, Morgantown, WV. May 8,
       2019.
    3. Workshop Instructor. “Color and Light Theory: Applications for the Forensic
       Examination of Documents.” Presented at the Southwestern Association of Forensic
       Document Examiners (SWAFDE) Annual Meeting, Las Vegas, NV. April 26, 2014.
    4. Workshop Instructor. “Questioned Document Examination and Enhancement of
       Evidence and Interpretation of Evidence Using Various Light and Filter Technique.”
       Presented at the American Academy of Forensic Sciences (AAFS) Annual Meeting,
       Seattle, WA. February 18, 2014.
    5. Workshop Instructor. “Inkjet Technology and Forensic Examinations.” Presented at the
       Annual Meeting for the American Society of Questioned Document Examiners
       (ASQDE). Dearborn, MI, August 2009.
    6. Workshop Instructor. “Inkjet Technology and Forensic Examinations” at the Annual
       Meeting for the Southern Association of Forensic Document Examiners (SAFDE). Peach
       Tree City, GA, April 8, 2009.
    7. Workshop Instructor. “Inkjet Technology and Forensic Examinations” at the Skill-
       Task Training Assessment & Research (ST2AR) Fall Workshop. Las Vegas, NV,
       October 22-23, 2008.
    8. Workshop Instructor. “Applications of Light and Color Theory in Forensic Document
       Examinations” at the American Academy of Forensic Sciences (AAFS) Annual Meeting,
       Washington, DC. February 18, 2008.
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    9. Workshop Instructor. “Methods Used for Authenticating Questioned Documents” at
        the Mid-Western Association of Forensic Scientists (MAFS) Annual Meeting, Traverse
        City, MI. September 25, 2007.
    10. Workshop Instructor. “Methods Used for Authenticating Questioned Documents” at
        the American Society of Questioned Document Examiners (ASQDE) Annual Meeting,
        Boulder, CO August 13-14, 2007.
    11. Instructor for the Midwest Forensic Resource Center (MFRC) – Recorded Training.
        Questioned Documents and the Crime Scene, Ames, IA, July 18, 2007.
    12. Instructor at the Federal Bureau of Investigation (FBI) Academy - Forensic
        Document Examiner Training Seminar, Quantico, VA. “An Analytical Approach to
        Forensic Document Examination.” April 17, 2007.
    13. Instructor at the George Washington University, Washington, DC. “An Analytical
        Approach to Forensic Document Examination.” February 28, 2007.
    14. Instructor at Marymount University, Arlington, VA. An Analytical Approach to
        Forensic Document Examination.” November 14, 2006.
    15. Workshop Instructor. “Authenticating Documents.” Presented at the American Board
        of Forensic Document Examiners (ABFDE). Las Vegas, NV, November 6-7, 2006.
    16. Instructor at the George Washington University, Washington, DC. “An Analytical
        Approach to Forensic Document Examination.” October 18, 2006.
    17. Workshop Instructor. “The Forensic Examination of Documents Produced with Office
        Machine Systems Utilizing Inkjet Technology.” The International Association for
        Identification (IAI) 91st International Education Conference, Boston, MA, July 3, 2006.
    18. Workshop Instructor. “Security Features in Documents. “ Mid-Atlantic Association of
        Forensic Scientists Annual Meeting, May 3, 2006.
    19. Instructor at the Federal Bureau of Investigation (FBI) Academy - Forensic
        Document Examiner Training Seminar, Quantico, VA. “The Forensic Examination of
        Inks.” April 5, 2006.
    20. International Instructor in Doha, Qatar. “The Examination of Counterfeit
        Documents.” March 27-28, 2006.
    21. Instructor at Marshall University, Huntington, WV. “Forensic Science at the United
        States Secret Service.” March 15, 2006.
    22. Instructor at Indiana University-Purdue University at Indianapolis. “Forensic
        Science at the United States Secret Service.” December 12, 2005.
    23. Workshop Instructor. “The Forensic Examination of Printing Processes.” American
        Board of Forensic Document Examiners (ABFDE). Las Vegas, NV, November 7-8,
        2005.
    24. Instructor at the George Washington University, Washington, DC. “The Forensic
        Examination of Printers and Copiers.” December 1, 2004.
    25. Instructor at the University of Windsor, Windsor, Ontario Canada. “Questioned
        Document Examinations.” November 10, 2004.
    26. Instructor at the University of Windsor, Windsor, Ontario Canada. “Forensic Science
        at the United States Secret Service.” November 9, 2004.
    27. Instructor at the University of Windsor, Windsor, Ontario Canada. “Forensic Drug
        Chemistry and Toxicology.” November 8, 2004.
    28. Instructor at George Washington University. “The Forensic Examinations of Inks and
        Paper.” George Washington University, October 27, 2004.
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    29. Workshop Instructor. “The Forensic Examination of Documents Produced By Office
        Machine Systems Utilizing Inkjet Technology.” Northeastern Association of Forensic
        Sciences, September 30, 2004.
    30. Instructor at Federal Law Enforcement Training Center. “The Forensic Examination
        of Printers and Copiers” and “The Forensic Analysis of Inks and Paper.” Brunswick,
        GA. June 21, 2004.
    31. Guest Speaker at the Federal Bureau of Investigation Laboratory. “Forensic
        Chemistry and Questioned Document Examinations.” Quantico, VA. May 5, 2004.
    32. Instructor at Forest Park High School. “Applications of Forensic Chemistry.”
        Woodbridge, VA. May 18, 2004.
    33. Workshop Instructor. “The Forensic Examination of Documents Produced By Office
        Machine Systems Utilizing Inkjet Technology.” Mid-Atlantic Association of Forensic
        Sciences, April 20, 2004.
    34. Instructor at George Washington University. “The Forensic Examination of Printers
        and Copiers.” George Washington University, November 20, 2003.
    35. Instructor at George Washington University. “Ink and Paper Chemistry.” George
        Washington University, October 30, 2003.
    36. Instructor at Marshall University. “Ink and Paper Chemistry” and “Counterfeit
        Identification Examinations.” Huntington, WV. September 23, 2003.
    37. International Instructor. International Law Enforcement Academy (ILEA). “Ink
        and Paper Chemistry” and Counterfeit Document Examinations.” Pretoria, South Africa.
        May 19-20, 2003.
    38. Instructor at Federal Law Enforcement Training Center. “Printing Processes” and
        “Physical and Chemical Analysis of Inks and Paper.” Brunswick, GA. June 22, 2003.
    39. International Instructor. International Law Enforcement Academy (ILEA). “Ink
        and Paper Chemistry” and Counterfeit Document Examinations.” Pretoria, South Africa.
        May 19-20, 2003
    40. International Instructor. International Criminal Investigative Training Program
        (ICITAP), U.S. Department of Justice, “Counterfeit Document Examinations” and “Ink
        and Paper Chemistry.” Sophia, Bulgaria. January 16-17, 2003.

                              PROFESSIONAL PUBLICATIONS

    1. National Best Practices for Sexual Assault Kits: A Multidisciplinary Approach, August
       2018: https://www.ncjrs.gov/pdffiles1/nij/250384.pdf.
    2. Faraco, C. and LaPorte, G. National Institute of Justice Investing in Innovation for the
       Identification, Collection, and Analysis of Sexual Assault Evidence. Forensic Science
       Review; Volume 30 (2); July 2018: 113-117.
    3. Chase, R and LaPorte, G. The Next Generation of Crime Tools and Challenges: 3D
       Printing. NIJ Journal No. 279, September 2017:
       https://www.nij.gov/journals/279/Pages/next-generation-of-crime-tools-and-challenges-
       3d-printing.aspx.
    4. Weiss, D. and LaPorte, G. Uncertainty Ahead: A Shift in How Federal Experts Can
       Testify. NIJ Journal No. 279, September 2017:
       https://www.nij.gov/journals/279/Pages/a-shift-in-how-federal-scientific-experts-can-
       testify.aspx.
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    5. Wagstaff, I. and LaPorte, G. The Importance of Diversity and Inclusion in the Forensic
        Sciences. NIJ Journal No. 279, September 2017:
        https://www.nij.gov/journals/279/Pages/importance-of-diversity-and-inclusion-in-
        forensic-sciences.aspx.
    6. LaPorte, G. Wrongful Convictions and DNA Exonerations: Understanding the Role of
        Forensic Science. NIJ Journal No. 279, September 2017:
        https://nij.gov/journals/279/Pages/wrongful-convictions-and-dna-exonerations.aspx.
    7. Waltke, H., LaPorte, G., Weiss, D., Schwarting, D., Nguyen, M. and Scott, F. Sexual
        Assault Cases: Exploring the Importance of Non-DNA Forensic Evidence. NIJ Journal
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        Considerations for Policy Makers (April 2015)
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    20. Arredondo, M., LaPorte, G., Wilson, J., McConnell, T., Shaffer, D., & Stam, M.
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    23. LaPorte, G. The Use of an Electrostatic Detection Device to Identify Individual and
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    26. LaPorte, G. Published Book Review, “Advances in the Forensic Analysis and Dating of
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    27. LaPorte, G, Wilson, J, Mancke, S. Amanda, Payne, J, Ramotowski, R, & Fortunato, S.
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                              PROFESSIONAL PRESENTATIONS

    1. LaPorte, G.M., B. Johnson, and L.S. Schaeffer. “NIJ’s NamUs and FBI Laboratory
        Collaboration: Using Next Generation Identification to Solve Unidentified Persons
        Cases.” American Academy of Forensic Sciences, 2018 Annual Scientific Meeting,
        February 19-24, 2018, Seattle, WA. Program, p. 176, https://www.aafs.org/wp-content/
        uploads/2018FINALPROGRAM.pdf.
    2. LaPorte, G. Strengthening Forensic Science: The Changing Landscape. Midwestern
        Association of Forensic Scientists Fall Meeting, Mackinac Island, Michigan, September
        24, 2015.
    3. LaPorte, G. Strengthening the Science in Forensic Science: An Update on Research and
        Development. Presented for the American Bar Association: 5th Annual Prescription for
        Criminal Justice Forensics, Fordham University, New York, New York, June 6, 2014.
    4. LaPorte, G. The Forensic Examination of Non-Original Documents and Images: Is it
        Reliable to Make Conclusions About the Printing Process and the Type of Ink Used to
        Create the Original Document? Presented at the American Academy of Forensic
        Sciences Annual Meeting, Washington, DC, February 21, 2013.
    5. LaPorte, G. The Challenges of Translating Forensic Science Research into Practice.
        Presented at the American Academy of Forensic Sciences Annual Meeting, Washington,
        DC, February 21, 2013.
    6. LaPorte, G. Forensic Science: A Discussion on the Importance of Research and Practical
        Applications in High Profile Cases. Presented at Penn State University, State College,
        PA, October 25, 2012.
    7. LaPorte, G. A Validated Approach to Ink Dating Using Solvent Analysis. Presented at
        the American Society of Questioned Document Examiners (ASQDE) Annual Meeting,
        Charleston, South Carolina, August 21, 2012.
    8. LaPorte, G. and Stephens, J. The Importance of Validating and Verifying a Standardized
        Method: Envelope Examinations and the Anthrax Investigation. Presented at the NIJ/FBI
        Impression and Pattern Evidence Symposium, Clearwater, FL. August 7, 2012.
    9. Taylor, M., Roberts, M, and LaPorte, G. Expert working Group on Human Factors in
        Latent Print Analysis. Presented at the 7th International Symposium on Fingerprints at
        the International Criminal Police Organization (INTERPOL), Lyon, France, April 25,
        2012.
    10. Taylor, M., Roberts, M, and LaPorte, G. Expert working Group on Human Factors in
        Latent Print Analysis. Presented at the Chesapeake Bay Division for the International
        Association of Identification. Cambridge, MD, March 28, 2012.
    11. LaPorte, G. and Singer, K. Artificial Aging of Documents. Presented at the American
        Academy of Forensic Sciences Annual Meeting, Atlanta, GA, February 23, 2012.
    12. LaPorte, G. Trace Evidence Moving Forward. Presented as part of a plenary panel at the
        2011 Trace Evidence Symposium: Science, Significance, and Impact. Kansas City, MO,
        August 9, 2011.
    13. LaPorte, G. The National Academy of Sciences Report: 2 Years Later. Presented at the
        Chesapeake Bay Division for the International Association of Identification. Cambridge,
        MD, March 21, 2011.
    14. LaPorte, G. Forensic Science: The Importance of Research for Practical Casework.
        Presented as a Keynote Speech at the 1 st Annual World Congress of Forensic Science.
        Dalian, China, October 21, 2010.
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    15. LaPorte, G. The Importance of Validating and Verifying a Standardized Method:
        Envelope Examinations and the Anthrax Investigation. Presented at the Mid-Atlantic
        Association of Forensic Scientists Annual Meeting. Hunt Valley, MD, May 8, 2009.
    16. LaPorte, G. Questioned Documents and Homicide Investigations. Presented at the
        Annual Meeting for the Virginia Homicide Investigators Association. Norfolk, VA,
        October 6, 2008.
    17. LaPorte, G. Questioned Documents and the Sub-Disciplines. Presented at the
        Symposium on Special Topics in Questioned Document Analysis. Ankeny, IA,
        September 30, 2008.
    18. LaPorte, G. An Overview of the Forensic Examinations on Documents Produced Using
        Inkjet and Thermal Printing Devices and the Increasing Need for Security. 31 st Annual
        Global Inkjet Printing Conference, Budapest, Hungary, March 12, 2008.
    19. LaPorte, G, Beuchel, A, and Stepehns, J. The Examination of Commercial Printing
        Defects to Assess Common Origin and Batch Variation. Presented at the American
        Academy of Forensic Sciences Annual Meeting, Washington, DC, February 22, 2008.
    20. LaPorte, G. Exonerations and Incarcerations: The Key Role of the Forensic Sciences –
        Questioned Documents. Presented at the American Academy of Forensic Sciences
        Annual Meeting, Washington, DC, February 19, 2008.
    21. LaPorte, G, Holifield, A, and Stephens, J. The Black Money Scam. Presented at the
        Mid-Atlantic Association of Forensic Scientists Annual Meeting, Washington, DC, May
        24, 2007.
    22. Schwartz, R. and LaPorte, G. The Effects of Common Environmental Variables on the
        Infrared Luminescence Properties of Writing Inks. Presented at the Mid-Atlantic
        Association of Forensic Scientists Annual Meeting, Washington, DC, May 25, 2007.
    23. Holifield, A and LaPorte, G. Artificially Aged Documents. Presented at the Mid-
        Atlantic Association of Forensic Scientists Annual Meeting, Washington, DC, May 25,
        2007.
    24. Voiles, R., Stephens, J., and LaPorte, G. The Forensic Examination of Documents
        Using Print Quality Analysis Software. Presented at the Mid-Atlantic Association of
        Forensic Scientists Annual Meeting, Washington, DC, May 25, 2007.
    25. LaPorte, G. Forensic Applications of Chromatography at the United States Secret
        Service. Presented for the Minnesota Chromatography Forum. Minneapolis, MN, March
        27, 2007.
    26. LaPorte, G. The Necessity of Security Printing for the Forensic Scientist. Presented at
        the 30th Annual Global Inkjet and Thermal Conference. Prague, Czech Republic, March
        2, 2007.
    27. LaPorte, G., Stoker, D., Thomas, Y, Stephens, J, and Shaffer, D. The Analysis of 2-
        Phenoxyethanol for the Dating of Documents. Presented at the 59th Annual Meeting of
        the American Academy of Forensic Sciences, San Antonio, TX, February 22, 2007.
    28. Shaffer, D., Stephens, J. LaPorte, G. A Comparison of the Physical and Chemical
        Characterization of Conventional Toners vs. Chemically Prepared Toners. Presented at
        the 59th Annual Meeting of the American Academy of Forensic Sciences, San Antonio,
        TX, February 23, 2007.
    29. Nelis, E., LaPorte, G., and Thomas, Y. The Use of Electrospray Ionization – Mass
        Spectrometry for the Identification of Controlled Substances. Presented at the 59th
        Annual Meeting of the American Academy of Forensic Sciences, San Antonio, TX,
        February 23, 2007.
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    30. LaPorte, G. The Forensic Examination of Documents Produced on Office Machine
        Systems Utilizing Inkjet Technology. Presented at the California Association of
        Criminalistics Fall Workshop Meeting, October 12, 2006.
    31. LaPorte, G. The Physical and Chemical Examinations of Documents Produced Using
        Inkjet Technology. Presented at the 4th Meeting of the European Document Experts
        Working Group, The Hague, Netherlands, September 28, 2006.
    32. Schuler, R., Treado, P.J., Gardner, C., LaPorte, G., Stephens, J. Chemical Imaging for
        Questioned Document Examination. Presented at the 4th Meeting of the European
        Document Experts Working Group, The Hague, Netherlands, September 29, 2006.
    33. LaPorte, G. The Forensic Examination of Documents Produced Using Inkjet
        Technology. Presented at the Imaging Materials Seminar: Inkjet Ink, Rochester, NY,
        May2, 2006.
    34. Layman, M. and LaPorte, G. Questioned Documents and the Crime Scene. Presented at
        the 58th Annual Meeting of the American Academy of Forensic Sciences, Seattle, WA,
        February 23, 2006.
    35. Shaffer, D, Stephens, J., and LaPorte, G. The Characterization of Envelopes for
        Questioned Document Examinations. Presented at the 58th Annual Meeting of the
        American Academy of Forensic Sciences, Seattle, WA, February 23, 2006.
    36. Stephens, J. and LaPorte, G. The Use of Hyperspectral Contrast Imaging for the
        Examination of Writing Inks. Presented at the 58th Annual Meeting of the American
        Academy of Forensic Sciences, Seattle, WA, February 23, 2006.
    37. LaPorte, G. and Layman, M. The Use of Supplementary Testing in Forensic Document
        Examinations. Presented at the Annual Meeting for the American Society of Questioned
        Document Examiners, Montreal, Quebec, August 15, 2005.
    38. LaPorte, G., Arredondo, M, McConnell, Cantu, A. The Static Method of Dating Writing
        Inks – A Preliminary Assessment of the United States International Ink Library.
        Presented at the Mid-Atlantic Association of Forensic Scientists Annual Meeting,
        Pittsburgh, PA, May 19, 2005.
    39. LaPorte, G. The Forensic Examination of Documents Produced Using Inkjet and
        Thermal Technology. Presented at the 28th Global Inkjet and Thermal Printing
        Conference, Barcelona, Spain, March 16, 2005.
    40. LaPorte, G. The Examination of Inkjet Printed Documents – What’s on the Frontier?
        Presented at the 57th Annual Meeting of the American Academy of Forensic Sciences,
        New Orleans, LA, February 24, 2005.
    41. Shaffer, D. and LaPorte, G. Applications of Scanning Electron Microscopy/Energy
        Dispersive X-Ray Analysis at the United States Secret Service. Scanning: The Journal of
        Scanning Microscopies, Volume 26(2), March/April, 2004.
    42. Arredondo, M and LaPorte, G. The Forensic Examination of Paper. Presented at the
        Mid-Atlantic Association of Forensic Scientists Annual Meeting, Wilmington, DE, April
        23, 2004.
    43. LaPorte, G. The Forensic Examination of Documents and Counterfeit Identifications
        Related to Terrorism and Financial Crimes. International Conference on Asian
        Organized Crime and Terrorism. Honolulu, HI, April 10-16, 2004.
    44. Cochran, J., Glisson, F., and LaPorte, G. Characterization of Inks by Solid Phase
        Microextraction – Gas Chromatography/Time-of-Flight Mass Spectrometry. Pittconn
        2004, Chicago, IL.
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    45. LaPorte, G. Analyzing Bar Soaps by Utilizing a Variety of Optical and Chemical
        Techniques. Presented at the 56th Annual Meeting of the American Academy of
        Forensic Sciences, Dallas, TX, February 20, 2004.
    46. LaPorte, G. The Analysis of Volatile Organic Compounds in Ballpoint Inks Using Gas
        Chromatography/Mass Spectrometery. Presented at the 56th Annual Meeting of the
        American Academy of Forensic Sciences, Dallas, TX, February 19, 2004.
    47. LaPorte, G. Inkjet Technology: The Need for Security and Forensic Traceability.
        Presented at the 11th Annual European Inkjet Printing Conference, Lisbon, Portugal,
        November 10, 2003.
    48. LaPorte. G. Cold Cases in Forensic Science. Presented to the Virginia Homicide
        Investigators Association (VHIA). October 6, 2003.
    49. LaPorte, G. The Use of an Electrostatic Detection Device (EDD) to Identify Class
        Characteristics on Documents Produced by Printers and Copiers. Presented at the
        American Society of Questioned Document Examiners Annual Meeting. August, 2003.
    50. Wilson, J & LaPorte, G. The Differentiation of Gel Inks using Various Optical and
        Chemical Techniques. Presented at the Mid-Atlantic Association of Forensic Scientists
        Annual Meeting, Annapolis, MD, May 8, 2003.
    51. LaPorte, G. The Analysis of 2-Phenoxyethanol in Ballpoint Inks Using Gas
        Chromatography/Mass Spectrometry. Presented at the Mid-Atlantic Association of
        Forensic Scientists Annual Meeting, Annapolis, MD, May 8, 2003.
    52. LaPorte, G. The Forensic Examination of Thermal Transfer Printing. Presented for
        Information Management Institute: The 14th Annual Thermal Printing Conference,
        Scottsdale, AZ, April 28-30, 2003.
    53. LaPorte, G. The Use of an Electrostatic Detection Device (EDD) to Identify Class
        Characteristics on Documents Produced by Printers and Copiers. Presented at the
        American Academy of Forensic Sciences Annual Meeting, Chicago, IL, February, 2003.
    54. LaPorte, G. The Forensic Examination of Office Machine Systems Utilizing Inkjet and
        Toner Technology. Presented for Information Management Institute: The 10th Annual
        European Ink Jet Printing Conference, Lisbon, Portugal, October 28-30, 2002.
    55. Payne, J & LaPorte, G. The Forensic Examination of Thermal Transfer Printers.
        Presented at the Mid-Atlantic Association of Forensic Scientists, Frederick Maryland,
        April 25, 2002.
    56. LaPorte, G & Ramotowski, R. The Effects of Latent Print Processing on Questioned
        Documents Produced by Office Machine Systems Utilizing Inkjet Technology and Toner.
        Presented at the Mid-Atlantic Association of Forensic Scientists, Frederick Maryland,
        April 25, 2002.
    57. LaPorte, GM & Davis, G.G. (1995). A Retrospective Study of the Incidence of Drugs in
        Decomposed Remains in Jefferson County, Alabama. Presented as an oral presentation
        at the American Academy of Forensic Sciences Annual Meeting, Seattle, WA.
    58. Gruszecki, A, Davis, GG, LaPorte, GM & Robinson, CA (1995). The Incidence of
        Corresponding Presence of Cocaine and Cocaethylene in Both Hair and Routine
        Postmortem Biological Samples. Presented as a poster at the American Academy of
        Forensic Sciences Annual Meeting, Seattle, WA.
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                              COURT AND DEPOSITION TESTIMONY

    I have testified approximately 35-40 times in the Commonwealth of Virginia and the States
    of Texas and Maryland on issues related to forensic urine drug testing, forensic chemistry,
    and controlled substance analysis.

    I have provided testimony over 80 times in matters related to forensic document
    examinations in State, Federal, and International courts as follows:

    1. Tax Court of Canada vs L.D.G. 2000 Incorporated
        Montreal, Quebec Canada                                           April 9, 2002
    2. USA v William Bartmann
        United States District Court – Northern District of Oklahoma      October 17, 2003
    3. USA v Clayton Lee Waagner
        United States District Court – Eastern District of Pennsylvania   December 2, 2003
    4. Matter of Singh, Atvar (A76-676-494)
        U.S. Department of Homeland Security –
        Immigration and Customs Enforcement                               July 16, 2004
    5. USA vs Paul Ihle, Jr.
        United States District Court – Northern Indiana                   September 9, 2004
    6. State v Matthew C. Owens,
        Case # 2NO-SO3-821 CR
        Nome, Alaska                                                      January 27, 2005
    7. USA v Sylvester Richards Gayekpar
        United States District Court – District of Minnesota              October 12, 2005
    8. State v Matthew Owens, Case # 2NO-S03-821 CR
        Kotzebue, Alaska                                                  November 2, 2005
    9. USA v Robert Sterling Miller
        United States District Court -Western District of Texas
        Austin, Texas, Case#A-05-CR-247 SS                                April 26, 2006
    10. USA v Hector R. Lugo-Rios
        United States District Court,
        Judicial District of Puerto Rico
        San Juan, Puerto Rico, Case#05-354 (JAF)                          May 24, 2006
    11. USA v Nancy Harlow
        Northern District of Texas
        Dallas, TX Case#3:06-CR-011-D                                     July 18, 2006
    12. USA v Hector R. Lugo-Rios et al
        United States District Court
        Judicial District of Puerto Rico
        San Juan, Puerto Rico, Case#05-354 (JAF)                          August 25, 2006
    13. State of New Jersey v Alfred Smith
        Superior Court of New Jersey, County of Burlington
        Mt. Holly, NJ, Case#05-1988                                       August 31, 2006
    14. USA v Cleveland Kilgore
        U.S. District Court For the District of Maryland
        Baltimore, MD, Case#RDB-06-0115                                   September 21, 2006
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    15. USA v Isidore Nouthong et al
        U.S. District Court For the Eastern District of Virginia
        Alexandria, VA, Case#:1:06cr305                                October 26, 2006
    16. USA v Isidore Nouthong et al
        U.S. District Court For the Eastern District of Virginia
        Alexandria, VA, Case#:1:06cr305                                February 7, 2007
    17. USA v Clyde Cook
        U.S. District Court For the Eastern District of Tennessee
        Memphis, TN                                                    April 10, 2007
    18. USA v Jermain Betea
        Eastern District of Virginia
        Alexandria, VA, Case#1:06cr305                                 May 3, 2007
    19. USA v Crist Dauberman
        Eastern District of Virginia
        Richmond, VA, Case#3:07CR040                                   May 8, 2007
    20. USA v Jose Padilla et al –
        U.S. District Court For the Southern District of Florida
        Miami, FL, Case#04-60001-CR-Cooke                              July 12, 2007
    21. Commonwealth of Kentucky v Quincy Omar Cross
        Hickman Circuit
        Clinton, KY, Case#08-CR-00001                                  April 2, 2008
    22. Blau v. Schaefer, MD (Docket MID-L-3015-05)
        New Jersey (Deposition)                                        July 25, 2008
    23. People of the State of NY v Stacey Castor
        County of Onondaga
        Syracuse, NY, DR#05-359834/07-402152                           January 21, 2009
    24. International Arbitration. Bank Julius Baer Co. Ltd v
        Waxfield Ltd Llc Bbcfd Sa G 04-6668-Cv 424 F.3d 278,
        New York, NY.                                                  June 11, 2009
    25. USA v Mark A. O’Hair, Et al
        Northern District of Florida
        Pensacola, FL, Case #3:08cr75/LAC                              July 28, 2009
    26. Giorgio v. Gibbens, M.D., et al
        File No. 2392/S
        New Jersey (Deposition)                                        August 26, 2009
    27. International Center for Settlement of Disputes (ICSID);
        Libananco Holdings Co. Limited v. Republic of Turkey
        ICSID Case No. ARB/06/8
        World Bank- Washington, DC                                     November 3, 2009
    28. Lake Forest Homeowner’s Association v. Orlando Lake Forest
        Joint Venture, et al
        Seminole County
        Case No. 07-CA-1867-16-L (Deposition)                          March 19, 2010
    29. Lake Forest Master Community Association v. Orlando Lake
        Forest Joint Venture, Orlando Lake Forest Inc., NTS Mortgage
        Case No. 07-CA-1867-L
        Seminole County, FL                                            March 25, 2010
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    30. Yakov Shlimovich, Derivatively on Behalf of
        Rightime Enterpirse, Inc. v. Mikhail Cheban
        The Superior Court of the State of California,
        County of Los Angeles – Central District,
        Case Number BC 408095 (Deposition)                           February 28, 2011
    31. USA v Raogo Ouedraogo
        U.S. Western District of Michigan
        Case No. 1:08-CR-68
        Grand Rapids, MI                                             March 10, 2011
    32. Yakov Shlimovich v. Mikhail Cheban, et al
        Case No. BC408095
        Superior Court of the State of California
        Los Angeles, CA                                              March 25, 2011
    33. USA v. Rami Saba
        U.S. Western District of Michigan
        Case No. 1:08-CR-68
        Grand Rapids, MI                                             May 20, 2011
    34. Susana Garcia Badaracco v. Ricardo Garcia Badaracco,
        Hermes Investment C. Inc ., Atrukay, Inc.,
        Circuit Court of the 20th Judicial Circuit in and for
        Lee County, Florida (Deposition)                             September 23, 2011
    35. Pactool International, Ltd v. Kett Tool Company, Inc.,
        United States District Court for the
        Western District of Washington at Tacoma,
        Civil Action No. 3:06-cv-05367-BHS (Deposition)              October 14, 2011
    36. Todd Basilone v. Ryan Basilone
        Superior Court for the State of Alaska
        Third Judicial District at Anchorage
        Case Number: 3AN-08-10257 CI                                 April 30, 2012
    37. Underhill v. APG Security-RI, LLC, The
        Asset Protection Group, LLC, and
        Dennis M. Kelly
        Superior Court of Rhode Island
        Case Number: C.A. No. PB 10-6489                             September 18, 2012
    38. Paul D. Ceglia v. Mark Elliot Zuckerberg, Individually,
        and Facebook, Inc,
        United States District Court Western District of New York,
        Civil Action No. : 1:10-cv-00569-RJA (Deposition)            July 26, 2012
    39. Cott Beverages, INC v. Americann CO-Pack, Inc.
        and Automated Process and Packaging, LLC.
        Fourth Judicial District Court
        Civil No.: 100402774                                         September 24, 2012
    40. Shanna K. Bever et al v. Estate of James R. Freudenberg,
        In The Circuit Court of Clay County, Missouri,
        Case No. 11CY-CV10505 (Deposition)                           October 26, 2012
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    41. Aequitas Solutions, Inc. v. Larry Anderson, Gary P. Lloyd,
        and C Innovation, Inc.
        In the Court of Chancery of the State of Delaware
        Case No. 7249-ML                                                      November 27, 2012
    42. Shanna K. Bever et al v. Estate of James R. Freudenberg,
        In The Circuit Court of Clay County, Missouri,
        Case No. 11CY-CV10505                                                 November 28, 2012
    43. Gerald Morawski v. Lightstorm Entertainment, Inc.,
        James Cameron
        United States District Court for the Central District of California
        Civil Action No. CV-11-10294 MMM (Deposition)                         December 20, 2012
    44. In the Matter of Certain Opaque Polymers
        United States International Trade Commission, Washington, DC
        Investigation No. 337-TA-883 (Deposition)                             April 22, 2014
    45. Compania General Financiera Y Desarollo, S.A.
        v. La Banque Nationale de Paris
        In the Circuit Court of the 11th Judicial District, Miami, FL
        Case No.: 11-17213 CA 30 (Deposition)                                 June 2, 2014
    46. LPG Warehouses, Ltd., Russell Grigsby and Peniel Investments
        v. Storrie Street Investments, Ltd. and Michael Hogan
        In the 26th District Court of Williamson County, TX
        Cause No.: 10-1284-C26                                                June 13, 2014
    47. Al Maya Trading Establishment v. Global Export Marketing
        Co. Ltd (Deposition)
        In the Southern District of New York
        Case No. 14-cv-0275                                                   July 18, 2014
    48. Korff v. Corbett, et al (Deposition)
        Supreme Court of the State of New York
        Index No. 601425/03                                                   July 25, 2014
    49. Fawzy amer Deghedy v. Viztek, Inc.
        United States District Court for the Southern District of Iowa
        Case No. 3:12-cv-00048-CRW-TJS                                        September 16, 2014
    50. Method Of Processing Ethanol Byproducts and
        Related Subsystems ('858) Patent Litigation (Deposition)
        United States District Court For the Southern District Of Indiana
        Case 1:10-ml-2181-LJM-DML                                             December 11, 2014
    51. Lela M. Kratz et al v. Sheri Meeks et al
        Iowa District Court – Linn County
        Case No. EQCV 79541                                                   January 15, 2015
    52. Compania General Financiera Y Desarrollo v.
        La Banque National De Paris
        Circuit Court of the 11th Judicial Circuit
        Miami-Dade County, Florida
        Case No. 11-17213 CA 30                                               January 28, 2015
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    53. Debra Wear v. Todd S. Hewell, III, M.D.
        and Todd S. Hewell, III, M.D., F.A.C.S. LTD (Deposition)
        Circuit Court of Cook County, Illinois
        Case No. 10 L 002261 “E”                                         June 2, 2015
    54. In Re: Method Of Processing Ethanol Byproducts
        And Related Subsystems (‘858) Patent Litigation
        Southern District of Indiana - Indianapolis Division
        Master Case No.: 1:10-ml-02181-LJM-DML                           October 6, 2015
    55. WCA Logistics, LLC. v. Cyndi Carpenter, NKA
        Cyndi Dibert
        In The Municipal Court of Champaign County, Ohio
        Civil Division
        Case No.: 15 CV F227                                             January 22, 2016
    56. Frank Beatty v. Oak Grove Technologies, LLC, et al
        In The Circuit Court of Fairfax County, Virginia
        Case No: CL-2015-6923                                            March 14, 2016
    57. Phosint Limited, Cyprus v. National Bank Trust, Pjsc, Russia
        The International Commercial Arbitration Court at
        the Chamber of Commerce and Industry of the
        Russian Federation
        Arbitration Case No. 159/2015                                    September 6, 2016
    58. Nite Glow Industries Inc., I Did it, Inc. and
        Marni Markell Hurwitz vs. Central Garden &
        Pet Company & Four Paws, d/b/a Four Paws Products, Ltd.
        United States District Court, District of New Jersey
        Case No.: 2:12-cv-04047-KSH-CLW (Deposition)                     October 11, 2016
    59. Lincoln Studios, LLC, et al. v. DLA, et al.;
        P6 LA MF Holdings, LLC vs. NMS Capital Partners I, LLC
        And Related Cross-Actions
        Superior Court of the State of California
        County of Los Angeles, Central District
        Case No.: BC551551 (Related Case BC 550227)                      October 14/18, 2016
    60. William Baker, Sr., Individually, and as an Heir of the Estate
        of Frederick Tyrone Baker, and Candice Renae Bryan as
        of Frederick Tyrone Baker, Deceased vs. Timothy Eichenlaub
        Individually, Las Vegas Pain Institute and Medical Center, LLC
        dba Comprehensive Urgent Care; Las Vegas Pain Institute, LLC
        District Court, Clark County, NV
        Case No.: A-15-714369-C (Deposition)                             November 18, 2016
    61. Girish Dahyabhai Patel v.
        Yashwant Dahyabhai Patel
        In the High Court of Justice
        Chancery Division Probate
        Case No.: HC-2015-002485
        London, England                                                  November 24, 2016
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    62. International Center for Settlement of Disputes (ICSID)
        Tethyan Copper Company Pty Limited (Claimant)
        v. The Islamic Republic of Pakistan (Respondent)
        Case No. Arb/12/1
        Paris, France                                               February 22, 2017
    63. Bruce Jacobs v. Bank of America
        United States District Court
        Southern District of Florida
        Case No. 15-24585-CV-UNGARO (Deposition)                    October 12, 2017
    64. McClain/Plum v. David J. Gehring, M.D., et al
        New Jersey Superior Court,
        Glouster County
        Docket No.: GLO-L-414-15
        Conventus No.: 101755-1 (Deposition)                        November 9, 2017
    65. USA v. Kaleil Isaza Tuzman and
        Omar Amanat
        United States District Court
        Southern District of New York                               November 20, 2017
    66. Mt. Charleston Investments, LLC v. Huerta, et al
        District Court, Clark County, NV
        A-15-715918-B
        Las Vegas, NV                                               November 21, 2017
    67. Estate of Frederick Tyrone Baker et al. v.
        Timothy Eichenlaub et al.
        District Court, Clark County, NV
        A-15-714369
        Las Vegas, NV                                               January 12, 2018
    68. International Center for Settlement of Disputes (ICSID)
        BSG Resources Limited, BSG Resources (Guinea) and BSG
        Resources (Guinea) SARL v. Republic of Guinea
        Case No. Arb/14/22
        Paris, France                                               March 26-27, 2018
    69. Ida Mae Lee, LLC v. Icor, Ltd. et al.
        Docket No.: 2017 CAR 004289
        Superior Court of the District of Columbia Civil Division
        Washington, DC
        (Hearing; Plaintiff Stipulated to Expert Findings)          July 3, 2018
    70. Chen Jinhui v. Wong Kam San; Huang Yuexia;
        Line Power Ltd; Trengei Development Ltd;
        Hawkins Development Ltd; Superfine Group Ltd.
        In the High Court of the Hong Kong
        Special Administrative Region
        Court of First instance
        Action No. 1524 of 2012                                     January 23-24, 2019
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    71. United States of America v. Rao Desu
        United States District Court, District of New Jersey
        Criminal No. 18-CR.613 (BRM)
        Trenton, New Jersey                                                 October 16, 2019
    72. U.S. Bank National Association v. Harry H. Morall, II;
        Jane E. Carey; et al
        Case No. 09CA3175
        In the Circuit Court of the 9th Judicial Circuit
        Orange County, FL                                                   January 3, 2020
    73. Harold and Jill Lewis v. David E. Taylor, and Joshua Media
        Ministries International, Inc.
        Case No. 18SL-CC02174
        In the Circuit Court of the County of St. Louis State of Missouri
        St. Louis, MO (Deposition)                                          February 27, 2020
    74. Paul Atkinson & Glyn Mummery
        (as joint liquidators of Grosvenor Property Developers
        Limited) v. Grosvenor Property Developers Limited
        (In Liquidation)/Mr. Siddhant Varma
        CR-2018-006183
        In the High Court of Justice Business and Property Courts
        of England and Wales (Chd)
        London, England                                                     June 23, 2020
    75. Le Dec Investments 1800, LTD, et al. v. Alberto Kamhazi, et al.
        Court Case No. 2018-017377-CA-44
        In the Circuit Court of the 11th Judicial Circuit in and for
        Miami-Dade County, FL (Deposition)                                  July 31, 2020
    76. Duane Fox v. Richard Fox & Joanne Krebs
        Case No. 19-CV-42
        State of Wisconsin – Circuit Court
        Green County, WI (Deposition)                                       August 4, 2020
    77. Peerenboom v. Perlmutter,
        Case No. 2013-CA-015257
        The 15th Judicial Circuit of Florida
        Palm Beach County, FL (Deposition)                                  October 23, 2020
    78. In the Matter of the Estate of:
        Robert Kit Kheong Lee,
        a/k/a Robert Kit Lee,
        a/k/a Robert Lee (Deceased)
        Case No. 2019PR30763
        Probate Court, City and County of Denver (Deposition)               December 11, 2020
    79. Marguerite Malek v. Pierre Marc Malek and
        Kymed, Ltd, a British Virgin Islands Corporation;
        Loris Malek, Third Party Defendants
        Case No. 2019-16957-FC-04
        Miami, FL (Deposition)                                              February 5, 2021
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    80. Marguerite Malek v. Pierre Marc Malek and
        Kymed, Ltd, a British Virgin Islands Corporation;
        Loris Malek, Third Party Defendants
        Case No. 2019-16957-FC-04
        Miami, FL                                                     February 11, 2021
    81. Joseph C. Bamford and Young Min Ban v. Penfold, L.P.;
        Delaware Valley Regional Center, LLC; West 36th, Inc.;
        Joseph Manheim; And Reath & Co., LLC.
        In the Court of Chancery of The State of Delaware
        C.A. No. 2019-0005-JTL (Deposition)                           February 12, 2021
    82. Kellianne Goodnight v. Mark G. Tusa, M.D.;
        Sharon Ann Brown and Chattanooga Skin and Cancer Clinic, P.C.
        In the Circuit Court for Hamilton County, Tennessee
        No. 19-C-331 (Deposition)                                     April 21, 2021
    83. Joseph C. Bamford and Young Min Ban v. Penfold, L.P.;
        Delaware Valley Regional Center, LLC; West 36th, Inc.;
        Joseph Manheim; And Reath & Co., LLC.
        In the Court of Chancery of The State of Delaware
        C.A. No. 2019-0005-JTL                                        June 12, 2021



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